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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF OKLAHOMA

EMCASCO INSURANCE COMPANY,                        )
                                                  )
                     Plaintiff,                   )
                                                  )
v.                                                )      Case No. CIV-20-349-D
                                                  )
WATONGA INDUSTRIAL, LLC,                          )
                                                  )
                     Defendant.                   )


                 ORDER REGARDING JOINT MOTION TO STAY

       This matter comes before the Court on the parties’ Joint Motion to Stay All

Unexpired Scheduling Order Deadlines [Doc. No. 68]. Upon consideration, the Court

finds that the Motion should be GRANTED as set forth herein.

       IT IS THEREFORE ORDERED that all unexpired deadlines for filing trial

submissions (designations of deposition testimony, motions in limine, requested voir dire,

trial briefs, requested jury instructions, and the Final Pretrial Report) are stayed and shall

become due, if necessary, 30 days after the Court issues its ruling on Plaintiff’s Motion for

Summary Judgment [Doc. No. 46]. Unless otherwise ordered, all other provisions of the

original Scheduling Order [Doc. No. 21] remain in effect.

       IT IS SO ORDERED this 21st day of October, 2021.
